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                       Our file 3380 – Laufer v. Krishna LLC, 4:20-cv-194,
                       Econo Lodge, 142 US HWY 82 Cuthbert, GA 39840



                                   Tristan W. Gillespie Timesheet

8/19/20
Review initial pre-suit investigation report and screenshots                 0.2
Review correspondence from TBB re instructions for opening case              0.1
Research name and address of corporate owner of subject hotel.               0.6
Research whether Defendant had any prior ADA lawsuits filed against them.    0.3
Draft and file Cover Sheet, Summons and Complaint.                           1.9

8/20/20
Review docket                                                                0.1
Send Summons and Complaint to process server                                 0.4

8/28/20
Receive and file return of service                                           0.3

9/16/20
Draft and file Motion for Default                                            0.6

9/21/20
Draft and file Motion for Default Judgment                                   1.9

9/22/20
Draft and file affidavit re attorney fees                                    2.5
                                                                             ____
                              Total TG Time                                  5.6
Compensable TWG Time (8.9 hours multiply by $400.00/hr) = $3560.00




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